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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF NEW JERSEY

 

Civil Action No.: 3:17-cv-05775 — PGS-DEA
CRYSTAL SANCHEZ,
Plaintiff,

V. Civil Action

SANTANDER BANK, N.A., a subsidiary FIRST AMENDED COMPLAINT AND
of Santander Holdings USA, Inc,; JURY DEMAND

GHOUS AGHA; NADIA JOSEPH;
KRISTEN RIMEK; JOHN & JANE DOE 1-
10; XYZ CORPORATION (1-10),

Defendants.

 

 

Plaintiff Crystal Sanchez, residing in the County of Middlesex, State of New Jersey, by
way of this First Amended Complaint against Defendants Santander Bank, N.A., a subsidiary
of Santander Holdings USA, Ghous Agha, Nadia Joseph, Kristen Rimek, John Doe 1-10, and
XYZ Corporations (1-10), hereby says:

I. IDENTIFICATION OF THE PARTIES

1. Defendant Santander Bank, N.A., a subsidiary of Santander Holdings USA
(“Santander’) at all times relevant hereto, provides banking products and services, and
operates 674 branch offices in various states throughout the United States including
one located at 920 Route 9, South Amboy, New Jersey. The following is believed to

accurately describe Santander:

Santander Bank, N. A. provides banking products and services. It offers
personal checking accounts, savings and money market accounts,
certificates of deposit, online and mobile banking, overdrafts, lines of
credit, loans, mortgages, investment services, insurance services, and
credit cards; and business banking, including basic services, business
cash management, business online banking, professional service
banking, advanced services, international services, merchant services,
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and small business borrowing; and corporate commercial banking,
specialty banking, real estate banking, lending, international services,
capital markets, and treasury management. The company was formerly
known as Sovereign Bank, National Association and changed its name
to Santander Bank, N. A. in October 2013. Santander Bank, N. A.
operates as a subsidiary of Santander Holdings USA, Inc.

Defendant Ghous Agha (“Agha’’) is, at all times relevant hereto, employed by Santander
as a bank teller at its branch located at 920 Route 9, South Amboy, New Jersey, and

upon information and belief, resides in the State of New Jersey.

Defendant Nadia Joseph (Joseph”) is, at all times relevant hereto, employed by
Santander as a District Manager, and upon information and belief, resides in the State

of New Jersey.

Defendant Kristen Rimek (“Rimek”) is, at all times relevant hereto, employed by
Santander as a Branch Manager at its branch located at 920 Route 9, South Amboy,

New Jersey, and upon information and belief, resides in the State of New Jersey.

Defendants John and Jane Does (1-10) and XYZ Corporations (1-10) are fictitious
names for any presently unknown person(s), corporation(s), partnership(s), business
and/or entity who, at times relevant hereto, incited, aided and/or abetted Defendants
Santander, Agha, Joseph and Rimek, jointly or severally, in the unlawful conduct
Plaintiff Crystal Sanchez was subjected to as alleged in the paragraphs of this

Complaint.
Plaintiff Crystal Sanchez (“Sanchez”) is, at all relevant times, employed by Santander

as a Branch Operations Manager at its branch located at 920 Route 9, South Amboy,

New Jersey (“the branch’).

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ll. GENERAL ALLEGATIONS

In or about July - August 2014, Sanchez began working for Santander at its branch

located at 920 Route 9, South Amboy, New Jersey as a Part Time Teller.

In or about September or October 2014 Sanchez was promoted to Full Time with a pay

decrease.

In or about November 2014, the Branch Operations Manager quit so Sanchez began

performing the duties of an Operations Manager while still being paid as a teller.

In or about February 2016, Sanchez was promoted to Branch Operations Manager

earning $14.81 per hour.

Sanchez was a Branch Operations Manager for Santander from February 2016 until her

employment with Santander ended on or about August 5, 2016.

lil. ALLEGATIONS AS TO PLAINTIFF’S FLSA AND WAGE AND HOUR LAW
VIOLATION CLAIMS

Santander employ several different types of workers, including but not limited to, Branch

Operations Managers, and other corporate employees.

The job duties of a Branch Operations Manager include:
(a) processing customer transactions;
(b) count and balance cash vault:
(c) inventory control and organizing incoming materials;
(d) place work orders;
(e) order and verify weekly cash shipment;
(f) screen, prioritize and route incoming documents and calls; and

(g) report production to the district executive.

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Plaintiffs duties as an Branch Operations Manager did not include hiring, firing,

managing, or disciplining other employees.

Plaintiff did not exercise a meaningful degree of independent discretion with respect to

the exercise of her duties as a Branch Operations Manager.

Plaintiff was not employed in an executive, administrative, or professional capacity by

Defendant.

Plaintiff was not an employee whose suggestions and recommendations as to the hiring
or firing and as to the advancement of or any other change of status of other employees

would be given any significant weight by Defendant.

Thus, Plaintiff was a non-exempt employee throughout the period of her employment
as a Branch Operations Manager who should have been paid by the Defendant for all
time worked including overtime for hours worked in excess of 40 hours per week.

Each of Santander’s branches receives a scorecard rating the branch’s performance.

Soon after she was promoted to Branch Operations Manager, Sanchez was informed

Santander’s scorecard policy had changed.

Sanchez was told the changing of the bank’s scorecard meant her working overtime

i.e., more than 40 hours per workweek, would no longer be permitted.
Sanchez was also told that as Branch Operations Manager the bank’s scorecard would

be her responsibility and that if the score was not good it would affect her incentive pay

and bonus.

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Sanchez requested the branch to hire more employees, or at least receive help from
other branches, since it would not be possible to effectively operate the branch while at
the same time avoiding working overtime with only two other persons in addition to

herself who could perform the duties of a teller; one of whom was only a part time teller.

Sanchez would send out emails to the District Manager asking for additional teller help

for the branch only to be told that the other bank branches were understaffed as well.

Because of the short staffing and the prohibition on working overtime, Sanchez felt
compelled to work 10-12 hours per week off the clock, i.e., uncompensated, so that the

branch would be able to effectively serve its customers.

The Regional Operations Manager Stephanie Stone, Joseph, and Rimek were actually
or constructively aware that Sanchez was working 10-12 hours per week
uncompensated off the clock, and yet did nothing to change this unlawful and unfair

circumstance.

Consistent with Santander’s policy, pattern and/or practice, Plaintiff regularly worked as
an Branch Operations Manager in excess of 40 hours per workweek with each hour
over 40 being unpaid and “off the clock” without pay, inclusive of not being paid a legally
required overtime rate of 1.5 times her regular rate of compensation for the hours she

worked in excess of 40 per workweek.

Santander knew that failing to pay Plaintiff for hours worked in excess of 40 hours per
week and failure to pay overtime pay would financially injure Plaintiff and similarly
situated employees and violates the FLSA, and New Jersey state wage and hour laws.
By their failure to act, Joseph, Rimek, and Santander approved, ratified, and otherwise

condoned Sanchez working 10-12 hours per week uncompensated off the clock.

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Working 10-12 hours per week uncompensated and off the clock, has and continues to

cause Sanchez significant financial loss and mental and emotional anguish.

IV. ALLEGATIONS AS TO PLAINTIFF’S SEXUAL HARASSMENT CLAIM

Towards the end of February 2016, Ghous Agha was hired as a bank teller.

As Branch Operations Manager, Sanchez supervised Agha.

After Agha began working for Santander, he subjected Sanchez to unwelcome sexually

offensive and gender based behavior including, but not limited to, the following:

° Repeatedly offering to buy Sanchez food after she told him not to do so;

° Repeatedly making sexually offensive and unwelcome remarks about
Sanchez’s body including her legs, buttock, face, and petite shape;

° Offering to rub hot oil on Sanchez’s body; and

° Being rude, annoying, disrespectful, and insubordinate towards Sanchez
such as telling her she was “too serious” and should learn to have “fun,”
and telling customers how he hated Sanchez as his supervisor because

he hates having to report to a female just a few years older than him.

Sanchez reported Agha’s sexually offensive and gender inappropriate behavior to

Branch Manager Rimek.

Because of Agha’s sexually offensive and gender inappropriate behavior, Sanchez

requested Rimek to put a stop to Agha’s sexual harassment of her.

Despite Sanchez requesting Rimek to take remedial action against Agha, Rimek did

not.

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Despite reporting Agha’s unwelcome, sexually offensive and gender inappropriate
behavior to Branch Manager Rimek, Rimek failed to undertake timely and reasonable
measures to put a stop to the sexual harassment and hostile work environment Agha

created for Sanchez.

Upon information and belief, Rimek informed District Manager Joseph of Sanchez
complaining that Agha was subjecting her to unwelcome, sexually offensive and gender

inappropriate behavior.

Despite Joseph learning of Agha’s sexually offensive and gender inappropriate
behavior, Joseph failed to undertake timely and reasonable measures to put a stop to

the sexual harassment and hostile work environment Agha created for Sanchez.

Upon information and belief, Rimek informed Santander’s Human Resources
Department (HR) of Sanchez complaining that Agha was subjecting her to sexually

offensive and gender inappropriate behavior.

Other than giving Agha a written warning, which did not stop his sexually offensive and
gender inappropriate behavior, Santander failed to undertake timely and reasonable
measures to put a stop to the sexual harassment and hostile work environment Agha

created for Sanchez.

Santander failed to engage in a timely and effective investigation of complaints of sex

and/or gender based harassment brought to its attention by Sanchez.

Joseph failed to engage in a timely and effective investigation of complaints of sex and/or

gender based harassment brought to its attention by Sanchez.

Rimek failed to engage in a timely and effective investigation of complaints of sex and/or

gender based harassment brought to its attention by Sanchez.

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Santander failed to undertake prompt and effective remedial measures to put a stop to

the sex and/or gender based harassment caused to Sanchez by Agha.

Joseph failed to undertake prompt and effective remedial measures to put a stop to the

sex and/or gender based harassment caused to Sanchez by Agha.

Rimek failed to undertake prompt and effective remedial measures to put a stop to the

sex and/or gender based harassment caused to Sanchez by Agha.

Agha’s sexually offensive and gender inappropriate behavior towards Sanchez caused

Sanchez great mental and emotional distress.

The failure of Rimek, Joseph, and Santander to undertake timely and reasonable
measures to put a stop to the sexual harassment and hostile work environment Agha
created for Sanchez, Sanchez has and continues to suffer from great mental and

emotional distress.

Because of Agha’s sexually offensive and gender inappropriate behavior towards
Sanchez and the failure of Rimek, Joseph, and Santander to undertake timely and
reasonable measures to put a stop to the sexual harassment and hostile work
environment Agha created for Sanchez, Sanchez suffered mental and emotional
distress, became physically ill, and was required to seek medical evaluation and

treatment.

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V. ALLEGATIONS AS TO PLAINTIFF’S WHISTLEBLOWING CLAIM

When Agha started working as a teller, Sanchez noticed bills in large denominations
stored in the vault were depleting at an alarming rate and the money was not lasting the
full week as it usually did. Sanchez reported to Rimek her suspicions that Agha was
the cause of the depletion of large denominations in the vault, that is, he was embezzling
money from the bank. To confirm her suspicions, Sanchez informed Rimek that she
would arrange for Agha to come to work on a day he did not normally work so that she

could audit him.

On the date of Agha's audit, Sanchez instructed him not to open his cash drawer at his
teller window after which she left him to inform Rimek that she would be auditing Agha’s

cash drawer.
When Sanchez returned to Agha’s teller window to perform the audit, Agha had left. A
few minutes later Sanchez received a text message from Agha stating he forced

balanced his cash drawer.

Sanchez reported what had occurred to Rimek and requested her to audit Agha’s cash

box under dual control.

Agha never returned to work at Santander.

Thereafter, Sanchez and Rimek performed a dual control audit of Agha’s cash draw and
discovered almost $8,000.00 was missing. The results of the audit were reported to
Santander’s compliance office.

A few weeks later, Rimek informed Sanchez that HR had contacted her, and asked if

Agha had ever complimented Sanchez or shown a romantic interest in Sanchez.

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Rimek advised Sanchez that Rimek had informed HR of Sanchez’s sexual harassment
complaints against Agha and their suspicions that Agha had embezzled money from
the bank.

Several days after her conversation with Rimek, HR came to the branch to question
Sanchez. They told her that Agha had made multiple accusations against her, including
an allegation that Sanchez had sexually harassed Agha and at one point tried to have

sex with him, but he refused.

HR also informed Sanchez of Agha’s claim that Sanchez was a racist and that the audit
of his cash drawer was nothing more than a set up by Sanchez to make him look bad

in the eyes of the bank.

Sanchez informed HR that all of Agha’s claims were nothing more than outlandish lies.

HR instructed Sanchez she was not to talk to anyone about Agha’s claims or HR’s
investigation, and if she did so, Sanchez would be subject to an immediate job

termination.

HR made Sanchez feel as if she had done something wrong and Agha was the true

victim.

Following her instructions with HR, management and coworkers questioned Sanchez
asking if Agha’s allegations were true. For example, Rimek was present when the
Regional Operations Manager Stephanie Stone asked Sanchez if Agha’s allegations

about her attempting to have sex with him were true.

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Sanchez could not respond to the Regional Operations Manager or anyone else asking
her questions about Agha’s claims because to do so would have violated HR’s

instructions to her and risk the loss of her job.

Making Sanchez’s work environment even more hostile, Rimek warned Sanchez to be

“careful” because she was being “watched.”

Thereafter, Rimek informed Sanchez that she learned from speaking with someone at
Capital One, Agha’s prior employer, that they believed Agha had stolen money from

Capital One while working for them.

Apparently, Santander did not do an adequate background and reference check before
hiring Agha. Had they done so, Agha would not have been hired and Sanchez would
not have had to endure the malicious, wanton, harassing, and willful behavior he

directed at her.

Santander and its HR Department never informed Sanchez that the retaliatory false
accusations Agha made against her were found to be without merit. Because of this
willfully indifferent omission on the part of Santander, Sanchez has and continues to

suffer from severe mental and emotional distress.

Sanchez later learned from Rimek that Santander had never reported Agha’s theft of

monies from the bank to the police.

Sanchez suffered retaliation for having disclosed the theft of money committed by Agha.
For instance, by the time the second quarter of 2016 ended, Sanchez had opened close
to 50 new bank accounts. When she received her incentive bonus, Sanchez discovered
that she had only been paid a bonus for about 24 accounts and did not receive the

bonus Branch Operations Managers get quarterly.

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When Sanchez went to Rimek and questioned why she had not been given an incentive
bonus commensurate with opening close to 50 new bank accounts, she was told it was
because the bank employee who opened the accounts on the system made too many

errors.

Because of Santander’s retaliatory conduct, Sanchez has and continues to sustain

economic loss and suffer from severe mental and emotional distress.

VI. ALLEGATIONS AS TO PLAINTIFF’S CLAIMS OF FRAUDULENT
INDUCEMENT AND PROMISSORY ESTOPPEL

Before accepting the position of Branch Operations Manager in or about February 2016,
Sanchez engaged in negotiations with Joseph regarding what the position’s pay rate

would be.

Sanchez believed that the offered pay rate was insufficient considering the duties,
responsibilities and understaffing at the branch; she had performed the duties of the
position out of title for the two months prior and was practically performing the jobs of
two to three employees at all times. As such, Sanchez emphasized from the very

beginning of negotiations that pay was her primary concern.

Sanchez initially requested pay at the rate of $16.00/hour, which she learned was the

minimum standard rate of pay for the position.

Joseph refused and countered with approximately $14.03/hour.

It was eventually agreed between Sanchez and Joseph that Sanchez would begin
working for $14.81/hour subject to and with the express understanding Sanchez would

receive a raise to $16.00/hour in six months so long as she doubled her sales and

maintained sound operations within the branch as she had been.

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For the next six months Sanchez worked tirelessly and effectively for Santander.

Sanchez more than doubled her sales and maintained excellent bank operations,

despite her worsening medical condition and the inadequate assistance.

Shortly before the six-month period ended, Sanchez asked Joseph if she would be

receiving the raise since she met her end of the negotiated bargain.

In response, Joseph tried to manipulate and intimidate Sanchez by asking her what
Sanchez would do if Joseph refused to give her the promised raise, and why she
shouldn't expect Sanchez to come back in another six months and demand another

raise (as was her lawful right).

Despite the clear promise and agreement between them, Joseph reneged on her

promise and breached their agreement by refusing to grant Sanchez the raise.

Joseph never had any intention of honoring the promises and agreement she made with

Sanchez.

Joseph made misrepresentations to Sanchez solely to induce Sanchez into accepting

the Branch Operations Manager position for a lower rate of pay than Sanchez wanted.

Because of Joseph’s intentional and knowing misrepresentations, Sanchez has and
continues to sustain economic loss and suffer from severe mental and emotional

distress.

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Vil. ALLEGATIONS AS TO PLAINTIFF’S CLAIMS FOR _ DISABILITY
DISCRIMINATION AND WORKERS’ ‘COMPENSATION CLAIM
INTERFERENCE AND RETALIATION

On April 13, 2016, Sanchez requested a day off work from Rimek so that she could seek
medical treatment. She went to JFK Medical Center where she was diagnosed with

vertigo, headaches, nausea and vomiting, and gastritis.
Following her visit, she took an extra day off as recommended by her treating physician.

When Sanchez returned to work, she reported her condition to Rimek and provided her

with a doctor’s note explaining and excusing her absences.

Several days later, Joseph conducted a routine branch visit and heard about and/or

discovered the note.

Instead of expressing empathy or concern about Sanchez’s hospitalization, she instead

reprimanded both Sanchez and Rimek for discussing Sanchez’s medical issues at work.

Joseph told Sanchez and Rimek that they were not to discuss Sanchez’s medical
condition otherwise Joseph and Rimek would be required to report Sanchez's medical

condition to the bank’s HR Department and the bank’s workers’ compensation carrier.

Joseph directed Rimek to throw Sanchez’s doctor's note into the trash directly in front
of Sanchez, which Rimek did.

Thereafter, Sanchez reasonably felt compelled to deal with her medical condition on
her own, and to not seek help from her employer for fear of facing the wrath of Joseph
and an adverse employment action. However, Sanchez continued to update Rimek
regarding Sanchez’s ongoing and worsening physical, mental, and emotional condition.

Because Santander failed to provide Sanchez with workers’ compensation benefits after

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she informed Joseph and Rimek of her work-related stress and anxiety symptoms and
need for medical treatment, Sanchez’s medical condition further worsened and

eventually became disabling.

Because Santander, Joseph, and Rimek failed to provide Sanchez with a reasonable
accommodation of an authorized medical leave so that she could receive treatment for
her work-related stress and anxiety symptoms and need for medical treatment,

Sanchez’s medical condition further worsened and eventually became disabling.

Vil. ALLEGATIONS OF CONSTRUCTIVE DISCHARGE AND
EMOTIONAL DISTRESS DAMAGES RELATED TO ALL CLAIMS

In or around November 2015, Sanchez’s psychological distress and physical symptoms
began to manifest themselves. Around that time, she initially experienced nausea and
vomiting, headaches, and loss of appetite. These symptoms occurred occasionally for
several months, but began occurring more frequently and with greater severity in April
2016.

Between April 2016 and August 2016, Sanchez’s physical and mental health further

deteriorated.

Because of the unlawful conduct of Santander, Joseph, and Rimek as discussed in the
previous paragraphs of this Complaint, Sanchez’s work conditions had become
intolerable with her experiencing memory loss, blurred vision, blackouts of her vision,
and loss of cognitive and motor functions. For example, she was frequently unable to
stand up or walk straight without stumbling around or into walls, and she had problems
talking without forgetting what she was saying, or involuntarily switching between

English and Spanish in conversations at work.

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Consequently, Sanchez felt compelled to inform Joseph and Rimek that she was
resigning her position of employment with the bank effective close of business on
Friday, August 5, 2016. Rimek advised Sanchez she could return to work at the branch

in the future.

On or about Friday, August 5, 2016, Sanchez went to work and told Rimek about her
previously mentioned symptoms and how poorly she was feeling. Rimek told Sanchez

that she could leave work early.

Later that same day of August 5, 2016, Sanchez went to a walk-in Urgent Care Center

for evaluation, and the doctor referred her to be evaluated by a Neurologist.

On Saturday, August 6, 2016, Sanchez went to the emergency room at JFK Hospital in
Edison, New Jersey because she was experiencing uncontrollable vomiting and feeling

as if she was going to black out.

On Monday, August 8, 2016, Sanchez went to a Neurologist and followed up with the
doctor at the Urgent Care Center. She was told she was suffering from severe anxiety

and major depression and that she should start treating with a psychotherapist.

The doctor at the Urgent Care Center further recommended that Sanchez not return to

work because of the stress she was enduring there.
Thereafter, Sanchez went to see Rimek at the branch and informed Rimek of her

medical condition and doctor recommendations. Sanchez informed Rimek that she

would not be returning to work.

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On or about August 5, 2016, and unbeknownst to Sanchez, Santander terminated
Sanchez’s health insurance, despite Santander’s Human Resource Department having
previously informed her that her health insurance coverage would continue through the

first week of September 2016, i.e., one month following Sanchez’s last day of work.

Santander failed to provide Sanchez with the proper notice and/or option for continued
coverage in violation of COBRA, which resulted in Sanchez incurring significant medical
expenses, and prevented her from receiving recommended, necessary, and proper
medical treatment. Because of this, Sanchez’s already severe emotional distress and

pain and suffering was greatly exacerbated.

By their joint and several acts and omissions, Defendants Santander, Agha, Joseph,
Rimek, John and Jane Does (1-10) and XYZ Corporations (1-10) subjected Sanchez to
a hostile work environment and disparate treatment due to Sanchez’s sex and/or gender

(female) in violation of New Jersey’s Law Against Discrimination (LAD).

By their joint and several acts and omissions, Defendants Santander, Agha, Joseph,
Rimek, John and Jane Does (1-10) and XYZ Corporations (1-10) subjected Sanchez to
a hostile work environment, and disparate treatment due to Sanchez’s mental health
disabilities (anxiety and major depression), and failure to reasonably accommodate

those disabilities, all in violation of New Jersey’s LAD.

By their joint and several acts and omissions, Defendants Santander, Agha, Joseph,
Rimek, John and Jane Does (1-10) and XYZ Corporations (1-10) Sanchez had her right
to receive workers’ compensation benefits interfered with and denied in violation of New

Jersey Workers Compensation Laws.

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By their joint and several acts and omissions, Defendants Santander, Agha, Joseph,
Rimek, John and Jane Does (1-10) and XYZ Corporations (1-10) subjected Sanchez to
a retaliatory based hostile work environment and constructive discharge in violation of

New Jersey’s Conscientious Employee Protection Act (CEPA).

By their joint and several acts and omissions, Defendants Santander, Agha, Joseph,
Rimek, John and Jane Does (1-10) and XYZ Corporations (1-10) failed to pay Sanchez
for all time worked over 40 hours in a workweek including overtime pay at a rate of one
and one-half time her regular hour rate of pay for all hours worked in excess of 40 ina

workweek.

By their joint and several acts and omissions, Defendants Santander, Agha, Joseph,
Rimek, John and Jane Does (1-10) and XYZ Corporations (1-10), Sanchez was
involuntarily, constructively, and wrongfully discharged from her position of employment

at Santander.

Santander is liable as a matter of law for the unlawful acts and omissions of Agha,
Joseph, Rimek, John and Jane Does (1-10) and XYZ Corporations (1-10).

By their joint and several acts and omissions, Defendants joint and several acts and
omissions, Defendants Santander, Agha, Joseph, Rimek, John and Jane Does (1-10)
and XYZ Corporations (1-10) are individually liable under LAD for inciting, aiding, and

abetting each other’s discriminatory conduct as is outlined above.

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116. By their joint and several acts and omissions, Defendants joint and several acts and
omissions, Defendants Santander, Agha, Joseph, Rimek, John and Jane Does (1-10)
and XYZ Corporations (1-10) are individually liable under CEPA for inciting, aiding, and

abetting each other’s retaliatory conduct as is outlined above.

117. Because of the joint and several acts and omissions, Defendants joint and several acts
and omissions, Defendants Santander, Joseph, Rimek, John and Jane Does (1-10) and
XYZ Corporations (1-10), Sanchez has been and continues to suffer economic losses

and pecuniary damage in the form of lost income and benefits past, present and future.

118. Asa result of the joint and several acts and omissions, Defendants joint and several acts
and omissions, Defendants Santander, Agha, Joseph, Rimek, John and Jane Does (1-
10) and XYZ Corporations (1-10), Sanchez has been and continues to suffer non-
economic damages in the form of humiliation, stress, anxiety causing her mental and
emotional anguish and dysfunction, and physical manifestations of same including, but
not limited to, nervousness, anxiousness, sleeplessness, loss of appetite, anxiety

attacks, upset stomach and stomach pains all or some of which may be permanent.

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CAUSES OF ACTION
FIRST COUNT

COLLECTIVE ACTION CLAIMS
VIOLATION OF THE FAIR LABOR STANDARDS ACT, 29 U.S.C. § 201, et seq.
FAILURE TO PAY OVERTIME WAGES

Plaintiff re-alleges and incorporates by reference the allegations Plaintiff repeats and
re-alleges each allegation of paragraphs 1 through and including 118 of the Complaint

as if set forth at length herein.

29 U.S.C. § 2017(a)(1) provides as follows: “Except as otherwise provided in this
section, no employer shall employ any of his employees who in any workweek is
engaged in commerce or in the production of goods for commerce, or is employed in
an enterprise engaged in commerce or in the production of goods for commerce for a
workweek longer than forty hours unless such employee receives compensation for his
employment in excess of the hours above specified at a rate not less than one and one

half times the regular rate at which he is employed.”

Plaintiff brings this collective action pursuant to the FLSA, 29 U.S.C. § 216(b) on her
own behalf and on behalf of a putative Class of similarly situated current and former

Operations Managers employed by Santander, defined to include:

All persons employed in the United States and Puerto Rico by Santander,
N.A. a subsidiary of Santander Holdings USA, as a Branch Operations
Manager who are or were employed at any time in the last three years,
who worked in excess of 40 hours per workweek with each hour over 40
being unpaid and “off the clock”, inclusive of not being paid a legally
required overtime rate of 1.5 times their regular rate of compensation for
the hours worked in excess of 40 per workweek.

Plaintiff has executed her consent to sue form as required under FLSA which is attached
hereto as Exhibit A.

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Plaintiff does not bring this action on behalf of any executive, administrative, or

professional employee exempt from coverage under the FLSA.

With respect to the claims set forth in this action, a collective action under the FLSA is
appropriate because, under 29 U.S.C. § 216(b), the Branch Operations Managers
described are “similarly situated” to Plaintiff. The class of employees on behalf of whom
Plaintiff brings this collective action are similarly situated because: (a) they have been
or are employed in the same or similar positions; (b) they were or are subject to the
same or similar unlawful practices, policy, or plan; and (c) their claims are based upon

the same legal theories

Plaintiff's and other members of the Class’ entitlement to compensation for time worked
over 40 hours in a workweek and overtime pay, except for amount, is identical and
depends on two uniform factual questions: 1) Did Branch Operations Managers work
“off the clock” meaning without pay for time worked in excess of 40 hours in a
workweek?; and 2) Did Defendant pay its Branch Operations Managers overtime
compensation for hours worked over forty (40) at a rate of 1.5 times their regular rate of

compensation for hours worked in a workweek?

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7. Similarly, the classification status of the Class and Plaintiff involves identical legal
questions: Were Santander’s Branch Operations Manager non-exempt employees such
that Santander owes them a) compensation for time worked over 40 hours in a
workweek under the FLSA; and b) overtime compensation for hours worked over 40 in
a workweek under the FLSA?

8. Plaintiff shares the same interests as the other members of the putative Class she seeks
to represent in that the outcome of this action will determine whether they are either
exempt or non-exempt employees under the FLSA. Because the facts in this case are
similar, if not altogether identical, the factual assessment and legal standards lend

themselves to a collective action.

10. By authorizing, permitting or otherwise condoning the practice of Branch Operations
Managers working “off the clock” without pay for hours worked in excess of 40 ina
workweek, Santander failed to pay minimum wage for such hours worked in violation
of the FLSA.

11. Defendant Santander’s unlawful conduct has been widespread, repeated, and willful.
Defendant Santander knew or should have known that its policies and practices were

unlawful and unfair.

WHEREFORE, Plaintiff Sanchez hereby demand judgment be entered against

Santander as to the First Count of the Complaint as follows:

a. Certifying this case as a collective action in accordance with 29
U.S.C. § 216(b) with respect to the FLSA claims which are set forth
above;

b. Declaring that Defendant Santander willfully violated its/their

obligations under the FLSA and its attendant regulations set forth
above;

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C. Designation of Plaintiff as Representative of the Class;

d. Designation of Plaintiff's counsel of record as Class Counsel for the Class:

e. An appropriate service payment to Plaintiff for her service as Class
Representative;

f. Granting judgment in favor of Plaintiff and against Defendant

Santander and awarding the lost overtime compensation calculated
at the rate of one and one-half (1.5) of Plaintiff's regular rate
multiplied by all hours that Plaintiff worked in excess of forty (40)
hours per week for the past three years;

g. Awarding liquidated damages to Plaintiff in an amount equal to the
amount of unpaid overtime found owing to them;

h. Awarding reasonable attorney fees and costs incurred by Plaintiff in
filing this action;

i. Awarding pre and post judgment interest to Plaintiff on these
damages;

j. An injunction against Santander and its officers, agents, successors,
employees, representatives and any and all persons acting in concert with
it, as provided by law from, engaging in each of the unlawful practices,
policies and patterns set forth in this First Amended Complaint; and

K. Such further relief as this court deems appropriate.

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SECOND COUNT

NEW JERSEY CLASS ACTION CLAIM
VIOLATION OF NEW JERSEY WAGE AND HOUR LAWS

Plaintiff repeats and re-alleges each allegation of paragraphs 1 through and including

118 and the First Count of the Complaint as if set forth at length herein.

Plaintiff brings this Count for violation of the New Jersey Wage and Hour Law (NJWHL)
on behalf of herself, and all other similarly situated current and former employees of

Santander in New Jersey, to recover for the Defendants’ willful violation of the New

Jersey Wage and Hour Law N.J.S.A., 34:11-56.1 to -56.12 (“NJWHL?’), the New Jersey
Minimum Wage Act (“NJMWA”) and the New Jersey Wage Payment Law (“NJWPL’).

Plaintiff, and those similarly situated, were subjected to Santander’s policy and practice
of not paying overtime which compelled them to work “off the clock” without pay to avoid
working in excess of forty (40) hours during a workweek thereby triggering overtime
provisions in the NUWHL requiring Santander to pay these workers pay at a rate of one
and one-half times their regular rate for hours worked in excess of 40 hours during a

workweek.

Under the class action claims brought under the NJWHL, NJUMWA, and the NUWPL, the
proposed Class consists of all persons employed by Santander as Branch Operations
Managers at any time two years prior to the filing of this action through the entry of
judgment and who worked in Santander branch offices located in New Jersey who
worked over 40 hours per week and worked “off the clock” without pay and were not
paid overtime pay at a rate of one and one-half times their regular rate for hours worked

in excess of 40 hours during a workweek (hereinafter the proposed “NJ Class’).

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To remedy her damages and the damages of the NJ Class members, Plaintiff seeks a
declaration that her rights, and the rights of other NJ Class members were violated, and
an award of all available statutory damages including, but not limited to, unpaid wages,
interest, and reasonable attorneys’ fees and costs to make them whole for damages

suffered.

The New Jersey Wage and Hour Law (NJWHL) under N.J.S.A., 34:11-56a4 provides in
relevant part: “Every employer shall pay to each of his employees’ wages at a rate of
not less than ...for 40 hours of working time in any week and 1 1/2 times such
employee's regular hourly wage for each hour of working time in excess of 40 hours in
any week, except this overtime rate shall not include any individual employed in a bona

fide executive, administrative, or professional capacity....” (emphasis added).

Plaintiff and the NJ Class members do not qualify for exemptions under NUWHL. Thus,

she/they is/are not exempt.

Santander failed to pay Plaintiff and the NJ Class members for hours worked over forty

(40) hours in a week.

New Jersey’s Minimum Wage Act (NJMWA) N.J.S.A., 34:11-56a states: “It is declared
to be the public policy of this State to establish a minimum wage level for workers to
safeguard their health, efficiency, and general well-being and to protect them as well as
their employers from the effects of serious and unfair competition resulting from wage

levels detrimental to their health, efficiency and well-being.”

a. Effective January 1, 2014, the minimum wage rate in New Jersey was $8.25

per hour.

b. Effective January 1, 2015, the minimum wage rate in New Jersey was $8.38

per hour.

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c. Effective January 1, 2016, the minimum wage rate in New Jersey remained
at $8.38 per hour.

d. Effective January 1, 2017, the minimum wage rate in New Jersey became
$8.44 per hour.

By authorizing, permitting or otherwise condoning the practice of Branch Operations
Managers working “off the clock” without pay for hours worked in excess of 40 in a
workweek, Santander failed to pay minimum wage for such hours worked in violation of
NJMWA.

The New Jersey Wage Payment Law (NJWPL) requires an employer to pay its
employees all wages due under the New Jersey Wage and Hour Law (NJWHL) at least
twice during a calendar month. N.J.S.A. 34:11-4.2.

The WPL further states the following:

“It shall be unlawful for any employer to enter into or make any agreement
with any employee for the payment of wages of any such employee
otherwise than as provided in this act, except to pay wages at shorter
intervals than as herein provided, or to pay wages in advance. Every
agreement made in violation of this section shall be deemed to be null and
void, and the penalties in this act provided may be _ enforced
notwithstanding such agreement; and each and every employee with
whom any agreement in violation of this section shall be made by any such
employer, or the agent or agents thereof, shall have a right of civil action
against any such employer for the full amount of his wages in any court of
competent jurisdiction in this State.”

N.J.S.A. 34:11-4.7.

By authorizing, permitting or otherwise condoning the practice of Operations Managers
working “off the clock” without pay for hours worked in excess of 40 in a workweek,

Santander failed to pay minimum wage for such hours worked in violation of the NJWPL.

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14. | Santander’s unlawful conduct has been widespread, repeated, and willful. Defendant

knew or should have known that its policies and practices were unlawful and unfair.

15. Because of Defendant's violations of the NJWHL, NJMWA and the NJWPL. Plaintiff
and the NJ Class members have suffered damages by being denied pay for all of
the hours they worked, by being denied overtime wages in accordance with the
NJWHL in amounts to be determined at trial, and are entitled to recovery of such
amounts, prejudgment and post judgment interest, reasonable attorneys' fees and
costs pursuant to the NUWHL.

WHEREFORE, Plaintiff Sanchez hereby demand judgment be entered against

Santander as to the Second Count of the Complaint as follows:

a. Certifying this case as a class action in accordance with New Jersey
Rule of Court R. 4:32-1 (Rule 32) with respect to the NJWHL,
NJMWA, NJWPL, and Unjust Enrichment claims set forth above;

b. Declaring that Santander violated its obligations under the NJWHL,
NJMWA, and NJPL and its attendant regulations;

C. Designation of Plaintiff's counsel of record as Class Counsel for the Class:

d. An appropriate service payment to Plaintiff for her service as Class
Representative; .

e. Granting judgment in favor of Plaintiff and against Santander and

awarding the lost overtime compensation calculated at the rate of
one and one-half (1.5) of Plaintiff's regular rate multiplied by all hours
that Plaintiff worked in excess of forty (40) hours per week for the
past three years;

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f. Judgment for Plaintiffs and the NJ Class members for all statutory,
compensatory, liquidated and consequential damages, or any other
damages authorized by law or equity, sustained because of
defendants’ unlawful conduct, as well as prejudgment and post-
judgment interest;

g. An award to Plaintiff and the NJ Class members for their reasonable
attorneys’ fees, costs, including expert fees, and expenses
authorized by law;

h. Awarding pre and post judgment interest to Plaintiff on these
damages;

i. An injunction against Santander and its officers, agents, successors,
employees, representatives and any and all persons acting in concert with
it, as provided by law from, engaging in each of the unlawful practices,
policies and patterns set forth in this First Amended Complaint; and

kk Such further relief as this court deems appropriate.

THIRD COUNT

UNJUST ENRICHMENT

Plaintiff re-alleges and incorporates by reference the allegations Plaintiff repeats and
re-alleges each allegation of paragraphs 1 through and including 118 and the First and

Second Count of the Complaint as if set forth at length herein.

Defendant Santander unlawfully failed to pay Plaintiff and the putative NJ Class
members for hours worked over forty (40) hours in a week for that respective period at
a rate of 1 1/2 times such employee's regular hourly wage for each hour of working time

in excess of 40 hours in any week.

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5. By failing to pay Plaintiff and the putative NJ Class members for hours worked over forty
(40) hours in a week for that respective period at a rate of 1 1/2 times such employee's
regular hourly wage for each hour of working time in excess of 40 hours in any week,
Santander has been unjustly enriched at the expense of, and to the detriment of, Plaintiff
and the NJ Class.

6. By failing to pay Plaintiff and the putative NJ Class members minimum wages for hours
worked over forty (40) hours in a week, Santander has been unjustly enriched at the

expense of, and to the detriment of, Plaintiff and the NJ Class.

7. It would be inequitable for Santander to be permitted to retain the unpaid wages it
avoided paying to Plaintiff and the Class overtime wages at a rate of 1 1/2 times such
employee's regular hourly wage for each hour of working time in excess of 40 hours in
any week. Therefore, Santander should be compelled to disgorge to the Plaintiff and
the NJ Class all amounts it retained and received as a result of its wrongful and

inequitable practices.

8. It would be inequitable for Santander to be permitted to retain the unpaid wages it
avoided paying to Plaintiff and the NJ Class minimum wages for hours worked over forty
(40) hours in a week. Therefore, Santander should be compelled to disgorge to the
Plaintiff and the NJ Class all amounts it retained and received as a result of its wrongful

and inequitable practices.

WHEREFORE, Plaintiff Crystal hereby demand judgment be entered against Santander

as to the Third Count of the Complaint as follows:

a. Granting judgment in favor of Plaintiff and against Santander and
awarding the lost overtime compensation calculated at the rate of
one and one-half (1.5) of Plaintiff's regular rate multiplied by all hours
that Plaintiff worked in excess of forty (40) hours per week for the
past three years;

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b. Judgment for Plaintiffs and the Collective Class and NJ Class
members for all statutory, compensatory, liquidated and
consequential damages, or any other damages authorized by law or
equity, sustained because of defendants’ unlawful conduct, as well
as prejudgment and post-judgment interest;

C. An award to Plaintiff and the Collective Class and NJ Class members
for their reasonable attorneys’ fees, costs, including expert fees, and
expenses authorized by law;

d. Awarding pre and post judgment interest to Plaintiff on these
damages; and

e. Such further relief as this court deems appropriate.

FOURTH COUNT

VIOLATION OF NEW JERSEY LAW AGAINST DISCRIMINATION
(SEX AND DISABLITY DISCRIMINATION — HOSTILE WORK
ENVIRONMENT, DISPARATE TREATMENT, FAILURE TO
ACCOMMODATE, AIDING AND ABETTING LIABILITY AND
CONSTRUCTIVE DISCHARGE CLAIMS)

 

Plaintiff repeats and re-alleges each allegation of paragraphs 1-118 of this First

Amended Complaint as if set forth at length herein.

The New Jersey Law Against Discrimination (LAD), N.J.S.A., 10:5-1 et_seg., prohibits
unlawful employment discrimination/hostile work environment against any person

because of, inter alia, their sex or disability (handicap).
Hostile work environment harassment involves harassing conduct for the purpose or

effect of unreasonably interfering with an individual's work performance or creating an

intimidating, hostile, or offensive working environment.

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13.

Sanchez experienced a severe and pervasive sexually harassing work environment
while employed at Santander because of her sex (female) and disabilities (anxiety
disorder and major depression). Accordingly, Sanchez falls under the protections of the
LAD.

An employer is strictly liable for damages caused by the unlawful harassment committed
by managers, supervisors, by non-supervisory employees and in some instances by
third parties if the employer knew or should have known about the conduct, had control

over the harasser, and failed to take prompt appropriate corrective action.

Santander is strictly liable for damages caused to Sanchez by the unlawful harassment
committed or permitted by managers, supervisors, and by non-supervisory employees

named in this Complaint as well as others.

Santander is strictly liable for damages caused to Sanchez by the failure of Agha,
Joseph, Rimek, John and Jane Does (1-10) and XYZ Corporations (1-10), and other in
the management team at Santander and to put a stop to the unlawful harassment caused

to Sanchez by and others.

Santander is strictly liable for damages caused to Sanchez because it knew or should
have known about the abuse and harassment of Sanchez, had control over other
employees who were harassing Sanchez, yet failed to take prompt appropriate corrective

action to put a stop to the harassment.
An employer will also be found liable if they fail to establish, publicize, and enforce an

anti-harassment policy that contains an affective grievance procedure - one that is

known to the victim and that timely stops the harassment.

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Santander is liable for damages caused to Sanchez because it failed to establish and
effectively publicize and enforce an anti-harassment policy that contains an effective

grievance procedure.

Santander is liable for damages caused to Sanchez because it failed to establish
reasonably and effectively publicize and enforce policies prohibiting racial and sexual

based harassment that contains an effective grievance procedure.

Santander violated New Jersey’s LAD by failing to put a stop to the sexual harassment

and hostile work environment Sanchez was subjected to during her employment.

Santander violated New Jersey's LAD by allowing the harassment to continue and
escalate in retaliation for Sanchez reporting that she was subjected to harassment and

a hostile work environment because of her sex and disabilities.

New Jersey Division of Civil Rights regulations require employers to provide reasonable
accommodations for the handicapped.N.J.A.C.13:13-2.5. DCR states that this
requirement of reasonable accommodation is implicit in the LAD provision that an
individual may not be denied employment opportunities because of a handicap unless

the nature and extent of the handicap reasonably precludes job performance.

Santander is liable to Sanchez under LAD for failing to reasonably accommodate

Plaintiff's disabilities.

Agha, Joseph, Rimek, John and Jane Does (1-10) and XYZ Corporations (1-10), or any
one or more of them, are liable to Sanchez for inciting, aiding and abetting Santander
in furtherance of the defendant corporation’s failure to reasonably accommodate

Plaintiff's medical conditions.

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By their joint and several acts and omissions, defendants Santander, Agha, Joseph,
Rimek, John and Jane Does (1-10) and XYZ Corporations (1-10) subjected Sanchez to
a hostile work environment due to Sanchez’s sex (female) and disabilities (anxiety

disorder and major depression) in violation of New Jersey’s LAD.

By their joint and several acts and omissions, defendants joint and several acts and/or
omissions, defendants Santander, Agha, Joseph, John and Jane Does (1-10) and XYZ
Corporations (1-10), Sanchez was _ involuntarily, constructively, and wrongfully

discharged from her position of employment at Santander in violation of LAD.

Santander is liable as a matter of law for the unlawful acts and/or omissions of Agha,
Joseph, Rimek, John and Jane Does (1-10) and XYZ Corporations (1-10).

By their joint and several acts and omissions, defendants joint and several acts and
omissions, defendants Santander, Agha, Joseph, John and Jane Does (1-10) and XYZ
Corporations (1-10) are individually liable under LAD for inciting, aiding, and abetting

each other's discriminatory conduct as is outlined above.

The legislature has determined that persons subjected to unlawful discrimination may
suffer diverse and substantial hardships which give rise to remedies under LAD,
including compensatory damages; economic loss; physical and emotional distress;
search and relocation difficulties; anxiety caused by a lack of information, uncertainty
and resultant planning difficulty; career, education, family and social disruption;
adjustment problems; and severe emotional trauma, illness, homelessness, or other

irreparable harm resulting from the strain of employment controversies.

A person subject to unlawful discrimination is also afforded the remedy of punitive
damages. See N.J.S.A., 10:5-3.

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27. The legislature has also determined that the prevailing party may be awarded

reasonable counsel fees. N.J.S.A., 10:5-27.1.

28. Because of the joint and several acts and omissions, defendants joint and several acts
and omissions, defendants Santander, Agha, Joseph, John and Jane Does (1-10) and
XYZ Corporations (1-10), Sanchez has been and continues to suffer economic losses

and pecuniary damage in the form of lost income and benefits past, present, and future.

29. Asa result of the joint and several acts and omissions, defendants joint and several
acts and omissions, defendants Santander, Agha, Joseph, John and Jane Does (1-10)
and XYZ Corporations (1-10), Sanchez has been and continues to suffer non-economic
damages in the form of humiliation, stress, anxiety causing her mental and emotional
anguish and dysfunction, and physical manifestations of same including, but not limited
to, nervousness, anxiousness, sleeplessness, loss of appetite, anxiety attacks, upset

stomach and stomach pains all or some of which may be permanent.

WHEREFORE, Plaintiff Crystal Sanchez demands judgment against the
Defendants Santander Holdings USA, Ghous Agha, Nadia Joseph, Kristen Rimek, John
Doe 1-10, and XYZ Corporations (1-10), jointly and severally, and requests the following

relief:

a. Judgment directing the Defendants make Plaintiff whole for all losses she
has suffered in terms of lost wages (back pay and front pay damages),
benefits, insurance and pension coverage, and any other fringe benefits of
her employment;

b. Judgment awarding Plaintiff compensatory damages for all probable

damages and injuries, including emotional distress, suffered because of
Defendants’ failure to prevent or put a stop to the harm caused to Plaintiff in

violation of New Jersey Law Against Discrimination;

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C. Judgment awarding Plaintiff punitive damages on the grounds that
Defendants’ acts in failing to prevent the harm caused Plaintiff, as required
under the law, was especially egregious or that same occurred as a result of

the wanton and willful disregard for the rights of Plaintiff;
d. Judgment awarding Plaintiff accrued interest and costs of suit;
e. Directing Defendants to pay Plaintiff Sanchez for all of her attorneys’ fees

and costs incurred to the full extent permitted under N.J.S.A.10:5-1 et seq.
and Rendine v. Pantzer, 141 N.J. 292 (1995).

 

f. Plaintiff requests equitable relief in the form of the Court declaring that the
practices of the named Defendants contested herein violate New Jersey law

as set forth herein;

g. Plaintiff requests equitable relief in the form of the Court ordering the named
Defendants to cease and desist all conduct inconsistent with the claims
made herein going forward, both as to the specific Plaintiff and as to all other

persons similarly situated;

h. Granting Plaintiff such relief as the Court deems just and proper.

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FIFTH COUNT

VIOLATION OF NEW JERSEY CONSCIENTUOUS EMPLOYEE
PROTECTION ACT -— HOSTILE WORK ENVIRONMENT,
FAILURE TO PROVIDE A PROMISED RAISE, AIDING AND
ABETTING LIABILITY AND CONSTRUCTIVE DISCHARGE

CLAIMS)

 

 

Plaintiff repeats and re-alleges each allegation of paragraphs 1-118 this First Amended

Complaint as if set forth at length herein.

New Jersey’s Conscientious Employee Protection Act (CEPA) allows an employee an
action for retaliation when the employee discloses, threatens to disclose, objects to, or
refuses to participate in certain actions that the employees reasonably believe are either
illegal or a violation of public policy and is then subject to a course of retaliator conduct

by the employer.

Sanchez disclosed to defendants Joseph, John and Jane Does (1-10) and XYZ
Corporations (1-10), her reasonable belief that Agha was the cause of the depletion of
large denominations in Santander’s vault, that is, he was embezzling and otherwise
stealing money from the bank.

Sanchez is a person protected under CEPA as the acts that she complained of are
violations of law and regulations and rules related thereto and/or violations of clear

mandates of public policy.

Shortly after making her disclosures, Sanchez was subject to retaliation in the form of a
hostile work environment, denial of a promised pay raise, and constructive discharge

from employment.

Santander is liable as a matter of law for the unlawful acts and/or omissions of Agha,
Joseph, Rimek, John and Jane Does (1-10) and XYZ Corporations (1-10).

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10.

By their joint and several acts and omissions, defendants joint and several acts and
omissions, defendants Santander, Agha, Joseph, John and Jane Does (1-10) and XYZ
Corporations (1-10) are individually liable under CEPA for inciting, aiding and abetting

each other’s retaliatory conduct as is outlined above.

The legislature has determined that persons subjected to unlawful discrimination may
suffer diverse and substantial hardships which give rise to remedies under CEPA,
including compensatory damages: economic loss; physical and emotional distress;
search and relocation difficulties; anxiety caused by a lack of information, uncertainty
and resultant planning difficulty; career, education, family and social disruption;
adjustment problems; and severe emotional trauma, illness, homelessness, or other

irreparable harm resulting from the strain of employment controversies.

Because of the joint and several acts and omissions, defendants joint and several acts
and omissions, defendants Santander, Agha, Joseph, John and Jane Does (1-10) and
XYZ Corporations (1-10), Sanchez has been rendered vocationally disabled, and has
and continues to suffer economic losses and pecuniary damage in the form of lost

income and benefits past, present and future.

As a result of the joint and several acts and omissions, defendants joint and several
acts and omissions, defendants Santander, Agha, Joseph, John and Jane Does (1-10)
and XYZ Corporations (1-10),Sanchez has been and continues to suffer non-economic
damages in the form of humiliation, stress, anxiety causing her mental and emotional
anguish and dysfunction, and physical manifestations of same including, but not limited
to, nervousness, anxiousness, sleeplessness, loss of appetite, anxiety attacks, upset

stomach and stomach pains all or some of which may be permanent.

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WHEREFORE, Plaintiff Crystal Sanchez demands judgment against the Defendants
Santander Holdings USA, Ghous Agha, Nadia Joseph, Kristen Rimek, John Doe 1-10, and

XYZ Corporations (1-10), jointly and severally, and requests the following relief:

a. Directing the Defendants to make Plaintiff Sanchez whole for any and all
losses she has suffered in the past, present and in the future in terms of lost
wages, benefits, insurance and pension coverage, and any other fringe

benefits of his employment;

b. Directing the Defendants, in lieu of reinstating Plaintiff Sanchez to her
former position with Santander, to fully compensate her with front pay and

benefits for the retaliatory acts;

C. Directing Defendants to pay Plaintiff Sanchez compensatory and
consequential damages for all non-economic damages including, but not
limited to, mental and emotional distress damages, suffered as a result of
Defendants’ retaliatory acts in violation of New Jersey Conscientious

Employee Protection Act;

d. Directing the Defendants to pay Plaintiff Sanchez punitive damages
because the acts of Defendants and its agents, servants and employees
were especially egregious, evil minded and/or were committed with a

wanton and willful disregard for the rights of Plaintiff:

e. Directing Defendants to pay Plaintiff Sanchez for all her attorneys’ fees and
costs incurred to the full extent permitted under N.J.S.A.34:19-1 et seq., and
Rendine v. Pantzer, 141 N.J. 292 (1995).

 

f. Awarding interest and costs of suit;

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g. Plaintiff requests equitable relief in the form of the Court declaring that the
practices of the named Defendants contested herein violate New Jersey law

as set forth herein;

h. Plaintiff requests equitable relief in the form of the Court ordering the named
Defendants to cease and desist all conduct inconsistent with the claims
made herein going forward, both as to the specific Plaintiff and as to all

other persons similarly situated;

i. Plaintiff requests equitable relief in the form of the Court Ordering Defendant
Santander to expunge and other purge from its files and records including,
but not limited to, Plaintiff's personnel file maintained by the said Defendant
any reference which violates the statutes implicated in the above captioned

action; and

j. Granting Plaintiff such relief as the Court deems just and proper.

SIXTH COUNT

COMMON LAW PUBLIC POLICY CLAIM
(PIERCE CLAIM)
Plaintiff repeats each allegation set forth in paragraphs 1 through and including 118 and

the Fifth Count of this First Amended Complaint as if set forth more fully at length herein.

In Pierce v. Ortho Pharmaceutical Corp., 84 N.J. 58, 72 (1980) the Supreme Court
established a New Jersey public policy exception to at-will-employment. The Supreme
Court established that:

An employee has a cause of action [in tort or contract or both] for
wrongful discharge when the discharge is contrary to a clear
mandate of public policy. The sources of public policy include
legislation; administrative rules, regulations, and decisions; and

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judicial decisions. In certain instances, a professional code of ethics
may contain an expression of public policy.
3. The public policies of the State of New Jersey underpinning Plaintiff Sanchez’s
complaints are found, inter alia, in the statutes, codes, and regulations applicable to

business practices, fraud, and international law.

4. The above facts establish a public policy violation.

5. Because of the retaliatory actions undertaken by Santander, Agha, Joseph, John and
Jane Does (1-10) and XYZ Corporations (1-10), jointly or severally, Plaintiff Sanchez
has been and continues to suffer economic losses and pecuniary damage in the form

of lost income and benefits past, present and future.

6. Because of the retaliatory actions undertaken by Santander, Agha, Joseph, John and
Jane Does (1-10) and XYZ Corporations (1-10), jointly or severally, Plaintiff Sanchez
has been and continues to suffer non-economic damages in the form of humiliation,
stress, anxiety causing her mental and emotional anguish and dysfunction, and physical
manifestations of same including, but not limited to, nervousness, anxiousness,
sleeplessness, loss of appetite, anxiety attacks, upset stomach and stomach pains all

or some of which may be permanent.

WHEREFORE, Plaintiff Crystal Sanchez demands judgment against the Defendants
Santander Holdings USA, Ghous Agha, Nadia Joseph, Kristen Rimek, jointly or severally, for
compensatory, consequential, and punitive damages, reasonable attorney fees, interest, costs

of suit and such other relief the Court deems equitable and just.

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SEVENTH COUNT

VIOLATION OF N.J.S.A. 34:15-39.1 ET. SEQ.
(WORKER’S COMPENSATION RETALIATION)

Plaintiff repeats and re-alleges each allegation of paragraphs 1 through and including
118 and the Fourth through the Sixth Counts of this First Amended Complaint as if set
forth at length herein.

The New Jersey Workers Compensation Act, N.J.S.A. 34:15-1 et. seq., (“the Act”)
requires employers to compensate their employees for personal injuries caused by an

“accident arising out of and in the course of their employment,” without proof of fault.

3. It is unlawful under the Act for an employer to discharge or discriminate against an
employee because such employee has claimed or attempted to claim worker’s

compensation benefits from his employer.

For violations of the Act, employers are subject to fines and/or imprisonment of up to 60

days.

5. The Act provides for reinstatement with back pay for any employee who is the subject

of such discrimination.

6. |Anemployee discharged because such discrimination has a common-law right of action

for wrongful discharge.

7. Because of the unlawful joint and several acts and/or omissions of Defendants
Santander, Agha, Joseph, John and Jane Does (1-10) and XYZ Corporations (1-10),

Sanchez has and continues to sustain economic loss and pecuniary harm.

8. Asa result of the joint and several acts and omissions of the Defendants, Santander,
Agha, Joseph, John and Jane Does (1-10) and XYZ Corporations (1-10), Sanchez has
been and continues to suffer non-economic damages in the form of humiliation, stress,

anxiety causing her mental and emotional anguish and dysfunction, and physical

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manifestations of same including, but not limited to, nervousness, anxiousness,
sleeplessness, loss of appetite, anxiety attacks, upset stomach and stomach pains all

or some of which may be permanent.

WHEREFORE, Plaintiff Crystal Sanchez demands judgment against the Defendants
Santander Holdings USA, Ghous Agha, Nadia Joseph, Kristen Rimek, jointly or severally, for
compensatory, consequential, and punitive damages, reasonable attorney fees, interest, costs

of suit and such other relief the Court deems equitable and just.

EIGHTH COUNT
FRAUDULENT INDUCEMENT AND PROMISSORY ESTOPPEL

1. Plaintiff repeats and re-alleges each allegation of paragraphs 1 through and including
118 and the First through the Seventh Count of this Complaint as if set forth at length
herein.

2. In or about February 2016, Santander and Joseph made a clear and definite promise to

Sanchez that Sanchez would receive a raise to $16.00/hour in six months so long as

she doubled her sales and maintained sound operations within the branch as she had

been.
3. In reliance on this promise, Crystal accepted a position as Operations Manager.
4. Had Santander and Joseph not made this promise, Crystal would not have accepted

the position of Operations Manager and would have instead remained a full-time bank

teller.

5. Santander and Joseph made this promise to Sanchez with the expectation that Sanchez

would rely on the promise.

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10.

11.

12.

Thereafter, Sanchez reasonably relied on the promise made by Santander and Joseph
as evidenced by the fact that she more than doubled her sales and maintained excellent

bank operations.

Despite the clear promise and agreement between them, Santander Joseph reneged

on their promise and breached their agreement by refusing to grant Sanchez the raise.

Santander and Joseph never had any intention of honoring the promises and agreement

Joseph made with Sanchez.

Santander and Joseph made misrepresentations to Sanchez solely to induce Sanchez
into accepting the Operations Manager position for a lower rate of pay than Sanchez

wanted.

Because of Joseph’s intentional and knowing misrepresentations, Sanchez has and
continues to sustain economic loss and suffer from severe mental and emotional

distress

Because of the unlawful acts and omissions of Santander and Joseph, John and Jane
Does (1-10) and XYZ Corporations (1-10), jointly or severally, Plaintiff has been and
continues to suffer economic losses and pecuniary damage in the form of lost income

and benefits past, present and future.

As a result of the unlawful acts and omission of Defendants Santander, Joseph, John
and Jane Does (1-10) and XYZ Corporations (1-10), jointly or severally, Plaintiff has been
and continues to suffer non-economic damages in the form of humiliation, stress, anxiety
causing her mental and emotional anguish and dysfunction, and physical manifestations

of same including, but not limited to, nervousness, anxiousness, sleeplessness, loss of

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appetite, anxiety attacks, upset stomach and stomach pains all or some of which may

be permanent.

WHEREFORE, Plaintiff Crystal Sanchez demands judgment against the Defendants
Santander Holdings USA and Nadia Joseph, jointly or severally, for compensatory,
consequential, and punitive damages, reasonable attorney fees, interest, costs of suit and such

other relief the Court deems equitable and just.

NINTH COUNT
INTENTIONAL INFLICTION OF EMOTIONAL DISTRESS

1. Plaintiff repeats and re-alleges each allegation of paragraphs 1 through and including
118 and the First through and including Eighth Counts of the Complaint as if set forth at

length herein.

2. The acts of the Defendants Santander, Joseph, John and Jane Does (1-10) and XYZ
Corporations (1-10), jointly or severally, was done with malice, intent and/ or with the

reckless indifference to causing Plaintiff Sanchez emotional distress.

3: Because of the unlawful acts and omissions of Santander, Agha, Joseph, John and Jane
Does (1-10) and XYZ Corporations (1-10), jointly or severally, Plaintiff has been and
continues to suffer economic losses and pecuniary damage in the form of lost income

and benefits past, present, and future.

4. Asaresult of the unlawful acts and omission of Defendants Santander, Agha, Joseph,
John and Jane Does (1-10) and XYZ Corporations (1-10),jointly or severally, Plaintiff has
been and continues to suffer non-economic damages in the form of humiliation, stress,
anxiety causing her mental and emotional anguish and dysfunction, and physical

manifestations of same including, but not limited to, nervousness, anxiousness,

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sleeplessness, loss of appetite, anxiety attacks, upset stomach and stomach pains all

or some of which may be permanent.

WHEREFORE, Plaintiff Crystal Sanchez demands judgment against the Defendants
Santander Holdings USA, Ghous Agha, Nadia Joseph, Kristen Rimek, jointly or severally, for
compensatory, consequential, and punitive damages, reasonable attorney fees, interest, costs

of suit and such other relief the Court deems equitable and just.
JURY DEMAND
Plaintiff hereby demands a trial by jury on all issues triable in this action.
DESIGNATED TRIAL ATTORNEY
Stephan T. Mashel, Esquire is hereby designated as Plaintiff's trial attorney.

MASHEL LAW, L.L.C.

500 Campus Drive, Suite 303

Morganville, New Jersey 07751

(732) 536-6161

Attorneys for Plaintiff Crystal Sanchez and the
Putative FLSA Collective Class and the NJ Class

SL 7

By: StephanT. Mashel/Esquire
Attorney I.D. No’03185-1986

Dated: August 15, 2017

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EXHIBIT A

 
 

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AIR LABOR STANDARDS A NSE

I consent to be a party plaintiff in a lawsuit against Santander Bank, N.A., to seek redress for
violations of the Fair Labor Standards Act. pursuant to 29 U .S.C. 216({b). I hereby
designate the law firm of Mashel Law, L.L.C. to represent me in such a lawsuit.

Dated:

csfi4/2017

 

 
